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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS

JOHN DOE,                                          )
                                                   )
                       Plaintiff,                  )
                                                   )      Case No. 1:18-cv-07429
                                                   )
THE UNIVERSITY OF CHICAGO and                      )      Honorable Virginia M. Kendall
JANE ROE,                                          )
                                                   )
                       Defendants.                 )

                                     NOTICE OF MOTION

To:     See Certificate of Service

        PLEASE TAKE NOTICE that on Tuesday, June 18, 2019 at 9:00 a.m. or as soon
thereafter as counsel may be heard, we shall appear before the Honorable Virginia M. Kendall
or any Judge Presiding, Courtroom 2319 in the United States Courthouse, 219 South Dearborn
Street, Chicago, Illinois, and will then and there present DEFENDANT UNIVERSITY OF
CHICAGO’S MOTION FOR LEAVE TO FILE SUPPLEMENTAL AUTHORITY IN
SUPPORT OF ITS MOTION TO DISMISS COMPLAINT AND TO STRIKE CERTAIN
REQUESTS FOR RELIEF FROM COMPLAINT PURSUANT TO RULES 12(b)(6) and
12(f) a copy of which is hereby served upon you.

Dated: June 12, 2019                               Respectfully submitted,
                                                   HUSCH BLACKWELL LLP

                                                   By: /s/ Katelan Little
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    Case: 1:18-cv-07429 Document #: 59 Filed: 06/12/19 Page 2 of 2 PageID #:597



                               CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that she caused a copy of the foregoing

DEFENDANT UNIVERSITY OF CHICAGO’S MOTION FOR LEAVE TO FILE

SUPPLEMENTAL AUTHORITY IN SUPPORT OF ITS MOTION TO DISMISS

COMPLAINT AND TO STRIKE CERTAIN REQUESTS FOR RELIEF FROM

COMPLAINT PURSUANT TO RULES 12(b)(6) and 12(f) to be served on the attorney of

record listed below by filing the foregoing electronically using the CM/ECF filing system on this

12th day of June, 2019.


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                                                           /s/ Katelan Little
                                                           Katelan Little
